Case 2:18-cv-01382-GEKP Document 6 Filed 05/08/18 Page 1 of 8

"'AO 440 (Rcv_ DG.'IE) Summons in a C`ivil Acliun

UNITED STATES DISTRICT CoURT

l’or the

Eastern District of Pennsylvania

Andrew Perrong
Pl`aimi`ff(.s')

v. Civil Action No. lS-cv-1382

Macy's lnc., Deparrment Stores National Bank, FDS
Bank and Macy's Credit and Customer Services, Inc.
Defencianr(s)

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SUMMONS IN A CIVIL ACTION

TOI (Defendan! 's name and address)

Macy's Credit and Customer Services, lnc.

c/o its registered agent for service of process:
CORPORATE CREATIONS NETWORK lNC

119 E. COURT STREET

CINCINNATI,OH 45202

A lawsuit has been Hled against you.

Within 2l days after service ofthis Stlmmons on you {not counting the day you received it) -- or 60 days ifyou
are the Un`\teo %tates or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules ofCivil Procedure. 'l`he answer or motion must be served on the plaintiff or plaintiff‘s attorney,
whose name and address are:

Clayton S. Morrow, Esq
304 Ross street 7“’ rim
Pittsburgh, PA 152]9

ll`you fail to respond,judgment by default will he entered against you for the reiiel" demanded in the complaintl
You also must file your answer or motion with the court.

CLERK OF COURT

/" ' /
Date: 4/4/2013 M_»£Lj/~/__M té-_JL/’_ssm

'S:'gnam)‘e afCi'erk or Dcprrty C!erk

 

Case 2:18-cv-01382-GEKP Document 6 Filed 05/08/18 Page 2 of 8

'AO 440 (Rcv. 06.’12) Summons in aCivil Action (l’ngc 2)

Civil Action NO. lS-cv- 1382

PROOF OF SERVlCE .
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was received by me on (dme) l_.|..AO ..l% , l c

D 1 personally served the summons on the individual at (place)

 

on (dare) § OF

 

l:l I left the summons at the individual‘s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

d l served the summons on (rmme ofindi'vr¢!ua/) Swmn€ H wl wjr-z , who is
designated by law to accept service of process on behalf of maine ofm-gmn':mran) mucq'_j Creal,;'~}- J. C,M-l-om@‘~

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l:] l returned the summons unexecuted because

 

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;or

 

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My fees are $ for travel and $ for services, for a total of$

l declare under penalty of perjury that this information is true.

Date: Lll‘al'i“l 5 g'/l/M/_rl DS/(I.U~J,(l‘

.$'er'ver 's signature

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Pr'r`med name and title

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Se."ver 's address

Additional information regarding attempted service, etc:

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KP Docurnent 1 Flled 04/02/18 Page 1 of 15

IN THE UNITED STATES DlSTRlCT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW PERRONG,

NO.
Plaintiff,

COMPLAINT_CLASS ACTION

DEMAND FOR JURY TRIAL

MACY’S INC., DEPARTMENT STORES
NATIONAL BANK, FDS BANK and
MACY’S CREDIT AND CUSTOMER
SERVICES, lNC.,

Det`endants.

 

 

COMES NOW Plaintiff Andrew Perrong, by his undersigned counsel,`for this class
action complaint against Defendants Macy’s lnc., Department Stores National Bank, FDS Bank
and Macy’s Credit and Customer Services, lnc. and their present, former and future direct and

indirect parent companies, subsidiaries, affiliates and agents (collectively, “Macy’s”), alleging as

follows:

I. INTRODUCTION

l. Nature of Action: Macy’s made 30 nonconsensual, nonemergency collections calls
with prerecorded or artificial voices to a phone number for which l\/[r. Perrong was charged for
incoming calls, in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227
(“TCPA”). The telephone calls transmitted a prerecorded voice insisting that Plaintiff contact
Macy’s about a “personal business matter,” althouin Plaintiff had no outstanding business
matters with Macy’s, personal or otherwise Despite Plaintift’s hanging up and telling Macy’s
that he was not the person it was looking for, l\/Iacy’s continued its relentless barrage of calls.

2. Mr. Pen'ong brings this action on behalf of himself and all those similarly situated,
in hopes that an injunction and damages will encourage Macy’s to stop robocalling or at least

check whether it is robocalling the right person.

_ 1 -
Complaint

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DATE OF NOTICE: April 6, 2018

IN THE UNITEI) STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW PERRONG : CIVIL ACTI()N
Plaiutr'ff, '

V.

MACY’S INC., ET AL, :
Defemlauts. : No. 18-1382

NOTICE OF INITIAL PRETRIAL CONFERENCE

An INITIAL PRETRIAL CONFERENCE (“IPTC”) in the above-captioned matter
will be held on Thursday, June 7, 2018, at 10:00 a.m. with the Honorable Gene E.K. Pratter in
Chambers, Room 10613, United States Coulthouse, 601 Market Street, Philadelphia, PA 19106.

Attached are (]) the Court’s Notice to Counsel: Scheduling and Discovery Policy;l (2)
the Court’s Checklist for Rule 26(f) Mcet and Confer Regarding Electronically Stored
lnfonnation (“ESI”);2 and (3) the Court’s Template and Expectations for Joint Report of Rule
26(f) Meeting and Proposed Discovery Plan.3 Plaintiff(s) shall serve promptly a copy of this
Notice and the accompanying documents on all Defendants.4 Counsel should become familiar
with these documents, and should submit a Joint Report of Rule 26(f) Meeting and Proposed
Discovery Plan, drafted in accordance with the Court’s Template and Expectations and in

compliance with Federal Rule of Civil Procedure 26(f), at least three business days prior to the

 

l Also available at https:l/www.paed.uscourts.gov/documents/procedures/noticeslprapol6.pdf.
2 Alsa available af https:l/www.paed.uscourts.gov/documents/procedures/prapol4.pdf.
3 Also available ar https://www.paed.uscourts.gov/documents/procedureslprapol5.pdf.

4 If a defendant is unrepresented at the time Plaintiff”s counsel receives this Notice, the copy
should be sent to the defendant If counsel enters an appearance for defendant after the notice has
been forwarded but before the conference then Plaintift`s counsel shall promptly forward a copy
of this Notice to defense counsel.

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Case 2118-c\/-01382- EKP Document 2-1 Fl|ed 04/06/18 Page 1 oi 7

12/14 EI).
JUDGE GENE E.K. PRATTER
United States District Court
Eastern District of Pcnnsylvania
NOTICE TO COUNSEL: SCHEDULING AND DISCOVERY POLICY

l. An [nitial Pretrial Confercnce (IPTC), as described in Federal Rule of Civil
Procedure 16, generally will be held in Chambers as promptly as possible, typically between 60
and 90 days after the filing of the complaint

2. Preliminary Motions (e.g., motions to dismiss, motions to transfer, add parties,
and other threshold motions) should be filed, whenever possible, before the IPTC or at least as
promptly as practical At the very least, plans for such motions should be highlighted in the
paities’ Joint Report of Rule 26(f] Meeting and Proposed Discovery Plan (see attached).l The
prospect of motions for summary judgment, in particular:l should be noted in the Joint Report and
at the lPTC.

3. The IPTC will last approximately 30 minutes lf it is truly impossible for lead trial
counsel or adequately prepared substitute counsel to attend the lPTC, counsel should very
promptly contact the Court in writing2 (with copy to all other counsel) and the Court will
determine whether the IPTC will be rescheduled to permit in-person attendance by a
knowledgeable professional Such requests should be made as far in advance of the scheduled
conference as possible. Last minute requests should be accompanied by verifiable excuse both

for the delay in making the request and the reason foi' the request

 

l Alsa available ar https:l/wvvw.paed.uscourts.gov/documentslprocedureslprapol5.pdf.

2 Chambers of Judge Gene E.K. Pratter, Room 10613, United States Courthouse, 601 Market
Street, Philadelphia, PA. Fax: 267-299~5070.

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Case 2:18~c\/~01382- EKP Document 2-2 Filed 04!06/18 Page 1 of 3
12/14 ED.

JquE GENE E.K. PRATTER
United States District Court
Eastern District of Pennsylvania

CHECKLIST FOR RULE 26(f) MEET AND CONFER
REGARDING ELECTRONICALLY STORED INFORMATION (“ESI”)

ln cases in which the discovery of electronically stored information is likely to be a
significant cost or burden, the Court encourages the parties to engage in ongoing meet-and-
confer discussions and use the following Checklist to guide those discussions While the Court
does nat expect to receive this checklist from counsel, the Court recommends that all counsel
retain a copy of it in the event of subsequent disputesl

The parties’ discussions should be framed in the context of the specific claims and
defenses involved The usefulness of particular topics on the Checl<list, and the timing of
discussion about these topics, may depend on the nature and complexity of the matter.

[. Preservation
l:l The ranges of creation or receipt dates for any ESI to be preserved.

l:l The description of data from sources that are not reasonably accessible and that will

not be reviewed for responsiveness or produced, but that will be preserved pursuant to
cheral Rule of Civil Procedure 26(b)(2)(B).

l:l The description of data from sources that the party (a) believes could not contain

relevant information but (b) has determined under proportionality factors, should not
be preserved

l:l Whether or not to continue any interdiction of any document destruction program,

such as ongoing erasures of emails, voicemails, and other electronically recorded
material.

E The names, general job titles, or descriptions of custodians for whom ESi will be
preserved (e.g., “HR head,” “scientist,” “marketing manager,” etc.).

l:l

The number of custodians for whom ESI will be preserved

[l The list of systems, if any, that contain ESl not associated with individual custodians
and that will be preserved such as enterprise databases.

l:l Any disputes related to the scope or manner of preservation

lI. Liaison

l:l The identity of each party’s e-discovery liaison.

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12/ 14 ed.
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PLAINTIFF [et al.], :

Plaiutiff]s], : CIVIL ACTION

v.
: No. ##-####

DEFENI)ANT [et al.], : Judge Gene E.K. Pratter

Defeudant[s]. : [DO NOT FILE]]

[Template and Expectations for]
JOINT REPORT OF RULE 26(1`) MEETING
AND PROPOSED DISCOVERY PLAN
ln accordance with Federal Rule of Civil Procedure 26(f) and the Court’s policies and
procedures, counsel for the parties conferred on [DA TE] and hereby submit the following Report
of their meeting for the Court’s consideration:
Claims, Defenses, and Relevant lssues (Rule 26(f)(2))
The Court takes seriously Rule 26(f)(2)’s mandate that thc parties confer and discuss
these issues, and the parties should refer to the Rule in addition to this template.l
Counsel should assume that the Couit has read the pleadings. However, the facts
supporting the claims and defenses may be unknown. Counsel should therefore concisely (one or
two paragraphs) set forth the factual background that the parties contend supports their claims
and defenses

Counsel should summarize their discussion of primary issues, threshold issues (including,

for instance, jurisdictional issues), and those issues on which the parties will need to conduct

 

l Submit this Joint chort to Chambers, Room 10613, United States Courthouse, 601 Market
Street, Philadelphia, PA 19106, or by fax, 267-299-5070. Do uofjile it on ECF or with fire Clerk_

ease 2:ls-cv-o13§§`-‘§§?§€>§§§@§§§%'CEiféS‘d§ibs/ls Page s of s

EASTERN DISTR|CT OF PENNSYLVANIA

AN[:)REW F’EF-':RONG CASE# 18CV-1382
PLA|NTlFF(S)
VS.

MACY'S INC.. DEF=ARTMENT STORES NAT|ONAL BANK. ET Ai_. AFF|DAVIT OF SERV\CE

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(NOTES)

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DEFi-:NDANT(S)

STATE OF OH|O }
) SS.
COUNTY OF l-lA|\/‘|||_`|'ON )

T©: MACY’s CRED|T AND CusToMER SERvicEs, lNc.
c/o CoRPoRATl-: CREATloNs NETwoRK lNc:.
119 E. CouRT STREET
CINCINNATl, OH 45202

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ON C|V|L.ACT[ON SUMMONS (SEE NOTES BEL.OW)

BY POSTING A cOPY OF SAH;) ABOVE REFERENCED DOCLJMENTS AT/WlTH

 

 

ON THE DAY OF ,20_, AT
APPF<OX|MATE|_Y M.

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